            Case 2:17-cv-02361-JAD-NJK Document 4 Filed 09/27/17 Page 1 of 1




     David H. Krieger, Esq.
 1   Nevada Bar No. 9086
     HAINES & KRIEGER, LLC
 2
     8985 S. Eastern Avenue, Suite 350
 3
     Henderson, Nevada 89123
     Phone: (702) 880-5554
 4   FAX: (702) 385-5518
     Email: dkrieger@hainesandkrieger.com
 5
     Attorneys for Plaintiff
 6   ELIZABETH K. FERREIRA
 7                         IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF NEVADA
 8
     ELIZABETH K. FERREIRA,                       )   Case No. 2:17-cv-02361-JAD-NJK-
 9
                                                  )
                          Plaintiff,              )
10
     v.                                           )
                                                      NOTICE OF DISMISSAL AS TO
                                                  )
11                                                    DEFENDANT AURORA BANK,
                                                  )   FSB ONLY
     AURORA BANK, FSB; ENERGY FIRST
                                                  )
12   CREDIT UNION; NUVISION FEDERAL               )
     CREDIT UNION; EQUIFAX                        )
13   INFORMATION SERVICES, LLC,                   )
                                                  )
14                        Defendants.

15          Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Defendant AURORA BANK, FSB, not

16   having filed or served an answer or a motion for summary judgment; the Plaintiff in the above-

17   entitled action, as to Defendant AURORA BANK, FSB, and only as to Defendant AURORA

18   BANK, FSB authorizes, and directs the Clerk of the Court to enter a judgment of dismissal

     against Defendant AURORA BANK, FSB.
19
            Dated:        September 27, 2017
20
                                         Respectfully submitted,
21
                                         By:    /s/David H. Krieger, Esq.
22                                              David H. Krieger, Esq. (Nevada Bar No. 9086)
                                                HAINES & KRIEGER, LLC
23
                                                8985 S. Eastern Avenue, Suite 350
24
                                                Henderson, Nevada 89123
                                                Attorney for Plaintiff
25                                              ELIZABETH K. FERREIRA

26
                                               Page 1 of 1
27

28
